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EXHIBIT 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ and CATHY MUNIZ, Civil Action No.
Plaintiffs,
V.
SILVIA VITIELLO and AIR BNB,

Defendants

 

 

DECLARATION OF MONIQUE CHAUVET IN SUPPORT OF DEFENDANT AIRBNB
INC.’S NOTICE OF REMOVAL

I, Monique Chauvet hereby declare and state as follows:

1. Tam a Legal Investigations Coordinator at Airbnb, Inc. I submit this declaration
in support of Defendants Airbnb, Inc.’s Notice of Removal. I have personal knowledge of the
facts set forth below, and if called upon, I could and would testify to the truth thereof.

2. Airbnb, Inc. is incorporated in the State of Delaware, and its principal place of
business is San Francisco, California.

3. Airbnb first received the complaint in the above-captioned matter via mail on
April 18, 2023.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing in true and correct. Executed on May 17, 2023, at Portland, Oregon.

 
Case 3:23-cv-00825-JFS Document 1-2 Filed 05/18/23 Page 3 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ and CATHY MUNIZ,
Plaintiffs,
Vv.
SILVIA VITIELLO and AIR BNB,

Defendants

Case No.

Removed from: MONROE COUNTY
COURT OF COMMON PLEAS

 

 

RULE 7.1(a)(2) DIVERSITY DISCLOSURE STATEMENT

Pursuant to Federal Rule of Civil Procedure 7.1(a)(2), Airbnb, Inc. hereby declares the

following names and citizenships of every individual or entity whose citizenship is attributed to

 

 

Airbnb, Inc.:
Individual or Entity Citizenship
Airbnb, Inc. Delaware, California

 

 

 

 

Respectfully submitted,

BABST, CALLAND CLEMENTS AND ZOMNIR,
PC,

/s/ Christina Manfredi McKinley
Christina Manfredi McKinley, Esq.
PA ID 320002

Two Gateway Center

603 Stanwix Street

Pittsburgh, PA 15222
cmckinley@babstcalland.com

Attorney for Defendant Airbnb, Inc.
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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing Diversity Disclosure

Statement was served via email upon all counsel of record.

/s/ Christina Manfredi McKinley _
Christina Manfredi McKinley, Esq.
